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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                       CRIMINAL

 VERSUS                                                                         NO. 95-377

 HERMAN H. STEVENSON, III                                                       SECTION: “S”(2)



                                       TRANSFER ORDER


        Defendant, HERMAN H. STEVENSON, III, has filed a motion to vacate, set aside, or

correct a sentence pursuant to 28 U.S.C. § 2255 in which he is challenging the constitutionality of

his 1996 conviction and sentence. To support his challenge, defendant asserts the following grounds

for relief:

        1)     He is legally and factually innocent of drug conspiracy because there cannot
               be a legal conspiracy with a government agent or informant;

        2)     Trial and appellate counsel rendered ineffective assistance by failing to
               pursue this claim.

        A review of this Court’s record reflects that defendant has filed a prior § 2255 motion related

to this same conviction and sentence. (Rec. Doc. # 382). In that motion, filed June 2, 1999,
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defendant raised 39 grounds for relief. The claims properly before the Court, which were

considered, include the following:

         1)     Ineffective assistance of trial and appellate counsel: trial counsel failed to
                pursue suppression of evidence, to procure services of an accountant, to
                contest admission of audio tapes, to file a Brady motion, to press
                jurisdictional claims, to address the forfeiture issue; appellate counsel failed
                to seek a new trial based on trial counsel’s ineffective assistance;

         2)     The remaining claims were found to be procedurally barred: insufficient
                evidence to convict because he cannot lawfully have been arrested and
                convicted for conspiring with a government informant, the trial court failed
                to order a new trial when trial counsel was relieved of her duties, wrongful
                arrest and wrongful seizure of evidence, the trial court’s failure to consider
                numerous pleadings, entitlement to disclosure of the signed grand jury
                concurrence form, denial of appellate motions, and his place of incarceration.

That motion was denied with prejudice on the merits by Judgment entered December 7, 1999. (Rec.

Doc. #410). Defendant appealed the judgment. The Fifth Circuit Court of Appeals denied his

request for a certificate of appealability. United States v. Stevenson, No. 99-31386 (5th Cir. Oct.

2000).

         The motion presently before the Court is considered to be a second or successive motion as

described in 28 U.S.C. §§ 2244 and 2255. In order to overcome the prohibition against the filing

of second or successive claims, the defendant must establish that the motion contains one of the

following requirements:

         1)     claims based on newly discovered evidence that, if proven and viewed in
                light of the evidence as a whole, would be sufficient to establish by clear and
                convincing evidence that no reasonable factfinder would have found the
                defendant guilty of the offense; or

         2)     claims based on a new rule of constitutional law, made retroactive to cases
                on collateral review by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255.


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       Before the motion can be considered on the merits by this District Court, the defendant must

obtain certification from the United States Fifth Circuit Court of Appeals to file this second or

successive motion by making a prima facie showing of the above listed requirements to that

appellate court as required by § 2255. Until such time as defendant obtains said certification, this

Court is without jurisdiction to proceed. Accordingly,

       IT IS ORDERED that defendant’s motion be construed in part as a motion for certification

for the District Court to consider the second or successive claims raised therein.

       IT IS FURTHER ORDERED that this motion be and hereby is TRANSFERRED to the

United States Fifth Circuit Court of Appeals under the authority of 28 U.S.C. § 1631 for that Court

to determine whether petitioner is authorized under 28 U.S.C. § 2244 and § 2255 to file the instant

motion to vacate in this District Court.
                       Hello This is a Test
       New Orleans, Louisiana, this _____                 December
                                     1st day of ________________________________, 2006.




                                                     ____________________________________
                                                        UNITED STATES DISTRICT JUDGE




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